     Case: 1:20-cv-04176 Document #: 19 Filed: 10/21/20 Page 1 of 1 PageID #:63

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Bureau of Consumer Financial Protection
                                           Plaintiff,
v.                                                      Case No.: 1:20−cv−04176
                                                        Honorable Franklin U. Valderrama
Townstone Financial, Inc.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 21, 2020:


        MINUTE entry before the Honorable Franklin U. Valderrama: Defendant's
unopposed motion for leave to exceed page limits related to their motion to dismiss
plaintiff's complaint [18] is granted. Defendant has leave to file a memorandum up to 20
pages in support of their motion to dismiss. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
